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                             UNITED    STATES    DISTRICT           COURT
                             EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division



  UNITED     STATES   OF AMERICA,


        v.                                                      ACTION NO.            2:07cr60-003


  SHAUNTE     TORRANE   LASSITER,


                               Defendant



                             ACCEPTANCE    OF    PLEA      OF   GUILTY,
                                   ADJUDICATION       OF    GUILT
                                                AND
                                    NOTICE OF    SENTENCING


        Pursuant to the Report and Recommendation of the United States


  Magistrate Judge,          to which there has been no timely objection,                          the

  plea of     guilty of      the   defendant     to Count        One of      the      indictment      is


  now ACCEPTED and the defendant is ADJUDGED GUILTY of such offense.

  Sentencing       is hereby       scheduled    for July 18,          2007,      at    10:00   a.m.


        The    Clerk    is    DIRECTED    to     forward        a    copy   of     this   Order       to


  counsel for defendant and to the Assistant United States Attorney.


        IT    IS   SO ORDERED.                                        , t


                                                  Rebecca Beach Smith
                                                  United States Dbtrict Judge

                                                  UNITED        STATES      DISTRICT      JUDGE


  Norfolk Virginia


  May   H      , 2007
